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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                              WACO DIVISON

LATINOS FOR TRUMP, BLACKS                 §
FOR TRUMP, JOSHUA MACIAS,                 §
M.S., B. G., J.B., J.J.,                  §
                                          §
       Plaintiffs.                        §
                                          §
                                          §
v.                                        §     CIVIL ACTION NO. 6:21-CV-43
                                          §
PETE SESSIONS, MITCH                      §
McCONNELL, NANCY PELOSI,                  §
MARK ZUCKERBERG, CHUCK                    §
SCHUMER, ALEXANDRIA                       §
OCASIO-CORTEZ, BRAD                       §
RAFFENSPERGER, ALL                        §
MEMBERS OF THE 117TH U.S.                 §     JURY TRIAL REQUESTED
CONGRESS, et al.,

       Defendants.

                     DECLARATION OF JOSHUA MACIAS

      My name is Joshua Macias, I am competent to make this Declaration as

follows. I declare and verify under penalty of perjury that I voted in the 2020 election

for the U.S. House of Representatives and the U.S. Senate in the state of North

Carolina.

                                        /s/ Joshua Macias
